                                                                                Case 3:08-cv-05113-TEH Document 157 Filed 08/26/09 Page 1 of 1



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                                                                          4                         IN THE UNITED STATES DISTRICT COURT
                                                                          5                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          8    DAN VALENTINE, et al.,
                                                                          9                           Plaintiffs,              NO. C08-5113 TEH
                                                                         10                    v.                              ORDER OF REFERENCE
United States District Court




                                                                         11    NEBUAD, INC., et al.,
                               For the Northern District of California




                                                                         12                           Defendants.
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                                                                         14         Pursuant to Civil Local Rule 72-1, IT IS HEREBY ORDERED that all discovery
                                                                         15 matters in the above-entitled action, including Plaintiffs’ motion to compel filed on
                                                                         16 August 24, 2009, are referred to Magistrate Judge Edward M. Chen to be heard and
                                                                         17 considered at the convenience of his calendar.
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                                                                         19 IT IS SO ORDERED.
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                                                                         21 Dated: 08/26/09
                                                                                                                    THELTON E. HENDERSON, JUDGE
                                                                         22                                         UNITED STATES DISTRICT COURT
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